Case 1:21-cv-01808-RDM   Document 41-157   Filed 12/13/23   Page 1 of 20




                             Exhibit 157
  Case 1:21-cv-01808-RDM             Document 41-157      Filed 12/13/23   Page 2 of 20

                                           UNCLASSIFIED




                         CPT Jonathan Grassbaugh
                         SPC Levi Hoover




USARCENT FOIA FA-22-0067 Batch 1          UNCLASSIFIED                                152
               Case 1:21-cv-01808-RDM                                 Document 41-157                           Filed 12/13/23                 Page 3 of 20

                                                                                   UNCLASSIFIED

                            REPORT OF PROCEEDINGS BY INVESTIGATING OFFICER/BOARD OF OFFICERS
                                                       Foruu ofthls fonn, see AR 15-6; the proponent agency ls OTJAG.
                                 IF MORE SPACE IS REQUIRED IN FILLING OUT ANY PORTION OF THIS FORM, ATTACH ADDITIONAL SHEETS
                                                                       SECTION I• APPOINTMENT

     Appolnted byjL._ _(:c_b:.:_)(6-'),'-'(b--')'-(3'-)_ _j,__C_ommand
                                                               ___     er~•3_rd_Hea_vy"-,.Bng;;;':::a:;;;de;;;Comb==•ta;1';;-"'-rn~,_l_st_C&_vahy~_D_iVJS_._io_n_ _ _ _ _ _ __
                                                                                           (Appointing authority)



 on _ _ _7_AP~
            ,,.~R~,.)~0_1___ (Attach lncloBure 1: Le/ts, of appolntmonl or summa,y of oraJ appointment data.) (See para 3-15, AR 15-6.J
                       1
                                                                          SECTION U• SESSIONS


     Th• (investigation) (board)      commenctd at _F_O_B_W_ar_hnn
                                                               __       •----==-----------•t
                                                                                       (Pi. ..)
                                                                                                                                  _____1~2~0~0.,....
                                                                                                                                                  /rune)
                                                                                                                                                          _ _ __

     on             8 APR 07               (If• fOftnlll board mot for more than one ,on/on, check here D . Indicate in an inclolure the timll sach ss&sion began and
                        (D■».i
     ended, the p/ac., penon1 p11unt and abNnt, and 11xplanatlon of abMIJCN, If any.) The foll owing per&ons (mtmbers, respondent1, counul) wer.
     present: (Afttr each name, Indicate capacity, e.g., Prelkient, R•CCX'CW, Member, Legal AcMaor.)
CPT Phillip J. Kimery




     The fellowing persons (membe13, respondenla, ccuruu,J) were abHnt {Include briaf explanation of each abNnc.,J (S.e pares 5-2 and 5-Sa, AR 15-6.)




     The (mveltlgating olffc.r) (board) flniahecl glth1ring/h■aring evid•nc• at _ _ _ _ _=16~0~0_ _ _ _ _ _ on _ _ _ _I_7~A~p',r~0_7_ _ __
                                                                                                       (Time}                                           (Dale)
     and complet.d findings and recommendations at                                   2000                               on                   17 Apr 07
                                                         -------•m"-,,,,.=i-------                                           ------,l"'Da1"""•J_____
                                                            SECTION ii • CHECKI.IST FOK PROCEEDINGS

 ,        lncJ01uru (pata 3-16, AR 1~
     Af-:.Ive
           CO--,:,Mc-:P-:-L-.:E::-:T-cEi':INc-AL=L,::CA=S-::E::-:S:-:c:====c-'-:==-=,,---.:.......-----.:.......---------i-ES
              tha following inclOHd and number.cl consecutively with ROman numerals: f,.ttachtKI In order lilted)   NOlL NA~
          •· Tha '41tter t:l appointment or a summary of oral appointment data?
          b. Copy of notice to respondent, ifany?(SN/tem9, l»JowJ
          c. Other corrNpondence with rupondent or counlll, if any?
          d. All other wri:ttan ccmmunications to or from the appoinUng authority?
          •· Privacy Act Stat1N111nts(Certiticate, if atlll8ment provided cnly)?
    f. Eli;llanation by tha lnve&lfglting offlcer or board of any unusual delays, difficulties, irregularities, oroth.- problems
       1/\COUnNr.cl (a.s,., ebaene. ol lNteri•I witnuNI)?                                                                                                        D D l8I
    g. Information u to HA!Clls of a formal board not lncludad on page 1 of this report?                                                                      I I \.. 1 IXl
    h, Any otMr significant pap«a (other than avldtnoe) ralatlng to adminlatrativ. upocts of the lnvutigation or board?                                       I I I I IXI
FO -.iTNO , ...,.: ll __..,.--,._. •• ne111," anM'el"a on an 11t1... , ... -•••c.
                   2! U• oftha NIA column 0011atitutH • JX»li-.. 19pl'8•ntalion that lh• ch:umatancH desaibed in tlHJ queatfon did not occur In this Investigation
                         or board.
DA FORM 1574, MAR 1913                                               EDITION OF NOV n IS OBSOLETE.                                                                   .APO PE Vf .20




                    USARCENT FOIA FA-22-0067 Batch 1                                 UNCLASSIFIED                                                                  153
               Case 1:21-cv-01808-RDM                               Document 41-157                          Filed 12/13/23               Page 4 of 20

                                                                              UNCLASSIFIED
2   Exhibits (pata3-16, AR 16-6/                                                                                                                      YES NOll NA2L
    •. NO all iwm, ol!fflld (whollw a, not rec,i,od) or eonalderld u evidence individually numbered or l1tt.rad as
         axhibits and attached to this report?                                                                                                          ~       □ □
    b. 11 ■n Index of all txhibltl offered to or consld1rltd by investigating officer or board attached before the rim exhibit?                         IXI         I I I
    ,:. MIi th ■ tutlmony/statament of -.ch wltn1u bNn recotald vll'batim or bNn raducad to written form and attachtd as
        an exhibit?                                                                                                                                     ~       □ □
    d. Are copiu, descriptions, or dtpietions (if llJbltitlbd fa real or documtHJtary evkNJceJ properly authenticated and 11
        the location of the original evidence indicated?                                                                                                □       □ ~
    ,. M d11eription1 or diagrams included of locations visited by the inveatlgatlng officer or board (p,r• 3-1/b, AR 15-6)?                            I I         I   IXI
    f.   Is each written stipulation attach~ as an exhibit and Is uc:h oral stipulation elth.,. reduced to writing and made an
         exhlblt or recorded in a verbatim record?                                                                                                              □ ~
    g. If official notice of any matter wu taken ovartha objection of a respondent or counsal, is a statement of the matter
       of which official notice was taken attached as an exhibit (para 3--16d, AR 15-6)?
                                                                                                                                                        □       □ ~
3   Wu a quorum prauntwhen the board voted on findings and recommendations (pwa, 4-1 and 5-2b, AR 15-8)?




                                                                                                                                                    •
B. COMPLETE ONLY FOR FORMAL BOARD PROCEEDINGS (Chapter 5, AR 15-6)
4   At tha initial session, did the recorder read, or delarmlnt that all participants had rud, the Jetter of appointment (p•,. 5-3b, AR 15-5)?
5   Was ■ quorum prNent at every Hnion of the board          (PM'• 5-2b. AR 15-5)?
6   Was uch absence of any member properly excused (para 5-2a, A.R 15-6}?
                                                                                                                                                                          '
7 Were members, witnesses, reporter, and Interpreter sworn, if required (para 3-1, AR 15-6)?                                                                              I

8   If any members who votad on findings or recommendations were not present when the board received some evidence,
    does the Jnctosure describe how theyfarniltarlzad themselves with that evidence (para S.2d, AR 15-6)?                                               - -             _J

C. COMPLETE ONLY IF RESPONDENT WAS DESIGNATED {Ste/ion II, Chap/or 6, AR 15-6)
•  Notice to reapondants (pwa 5-6, AR 15-IS):
    •· Is th• mtthocl and dated delivery to the r"pondent lnd!catld on uch letter of notification?
    b. Wu the data of delivery at INStfive working days prior to the first 11&1ion of th• board?
    c. Ooea NCh ltttar of notification lndieatl -
         (1)    the date, hour, and place af the first MUion of the board concerning that re5pondent?
         (2)    the matter to be invutigated, including specffic aUtgatlons against the rNpondent, If any?
         (3)    the raspcndent's rights with regard to counsel?
         (4)    the name and addreu of each witnNs expected to be called by the recorder?
       (3)    the raspondtnt's rights to be preunt, present evldW1ce, and call witnassas?
    d. Wf!'s th• respondent provided a copy of all unclaHified d0Cllments In the cue 111•?
    e. If there were relevant classified matt rials, were the ratpondent and his counsel given access and an opportunity to examine them?
10 If any re1pondent was designated after the proceedlngs began (crolhfllWiae w.u abffnt during pstt of the proceedings):
    •· Wu he properly notified (para 6-6, AR 15-,6)?
    b. Was record of proceedings and evidence received in hl1 abNnct made available for examination by hfm and his counsel (para 5,4c, AR 16-f)'l
11 Counstl (para 5-8, AR 15-6):
    •· Was each rupondtnt represented by counsel?
       Name and buslneu address of counsel:


       {lfC01111HI l1 a 1 - , check hert    JO



                                                                                                                                                     a
    b. Was respondent's counsel pre1tnt at all open sessions oftht board relating to that respondent?
    c. If military counsal was requested but not made available, I& a copy (or, if or•I, • summary) of the request and the
       action taken on It included In tht report (para 5-0, AR. 1S-5)?
12 lf tht nispondent challenged the legal advl10r or any voting mambtrfor lack d impartiality        (pata 5-7, AR 15-6):
    •· Was the challenge prcptrly denied and by the appropriate officer?
    b. Old each memb« succellfully challenged eeu. to participate In the proceedings?




                                                                                                                                                     -I
13 Was tht respondent given an opportunity to (para 6-Ba, AR 15-6):
    •· Bt pr-■nt with his counul at all open SHsions of the board which deal with any matter which cone.ems that respondent?
    b. Examine and objact to the introduction of l'Nl and documentary evlckmce, Including written statements?
    c. Object to the tlltimony of witn11111 and cross-examine wltn11H1 other than his own?
    d. Clll wltnllSU and othlrwlH introduce avldtnce?
    •· Testify u a witness?
    f. Makt or have his counsel malce ■ final stntmant or argument (pr., 6-9, AR 16-6)?

14 If requ11~, did tht recon:I« aaslst the respondent in obtaining evidence In pocStUion of th• Govemment and In
   arranging for the prastnc. ofwltnt1Hs (pMI ~lb, AR 15-1)?                                                                                            □       □ □
15 Are all of the reapondent'I 19quasts and objections which were denied indicated In the report of proceedings or in an
   inclosure or exhibit to it (pwa S-11, AR 15-6)?                                                                                                       □      □ □
FOOTNOTES: j1 Explain all Mgati.le .,,_.. on an attached lhfft.
                 2l U• ofth• NIA coklmn con,titvtH a podlve rapre•ntatlon that th• ci'cumatancH described In the quastion did not occur In this lnvHtigation
                01 board.                                                    -
Page 2 of 4_.., DA Folm 1574, Mar1983                                                                                                                          APO PEY1.20




                                                                                 UNCLASSIFIED                                                                 154
                 USARCENT FOIA FA-22-0067 Batch 1
           Case 1:21-cv-01808-RDM                             Document 41-157                Filed 12/13/23   Page 5 of 20

                                                                       UNCLASSIFIED

                                                        SECTION IV· FINDINGS t""•a 3-/0, AR J5C6)
The (invesligaJing officer) (board), having carefully considered the evidence, finds:
See attached Memorandum For Record.




                                                  SECTION y. RECOMMENDATIONS t-•a3-JJ.AR /5-6)
In view of the above findings, the (investigating officer) {board) recommends:

See attached Memorandum For Recore.




 Page3 o/4pagu, DA Form 1574, Mar83                                                                                      USAPAV1.20




               USARCENT FOIA FA-22-0067 Batch 1                           UNCLASSIFIED                                 155
          Case 1:21-cv-01808-RDM                           Document 41-157                    Filed 12/13/23                Page 6 of 20
                                                                    UNCLASSIFIED

                                  SECTION VI• AUTHENTICATION (pwa 3-17, AR 15-6)
THIS REPORT OF PROCEEDINGS IS COMPLETE AND ACCURATE. (If any voting member or the recorder fails to sign hor• or In Sscllon VII
below, indicat• th, r11son in th• spac1 wh•re hie slgn•tu,. ahould appHr.)




                                                                                    ;

                                                                                                           (b)(6), (b)(3)


                                (Reoadot)                                                         (lnvoatlgatlng omc.~ (Pres/den/)


                                 (Membe~                                                                     (Membe,J



                                 (Member)                                                                    (Mombe,J


                                              SECTION Vii • MINORITY REPORT /pita 3-13, AR 15-8)
To the extent indicated in lnclosure              , the undel'8ignod do(es) not concur in the findings and recommendations of the board,
(In ths lnc/o,ure, identify by number each finding and/or recommendallon in which ths dissenllng member(s) do/88) not concur. state the
raasons for disagreement. AddiUonaVsub.t/tute findinf/8 and/or recommendations may be Included In the inclo,ure.)




                                /1,1..,be,J                                                                  (Membe,J

                                     SECTION VIII • ACTION BY APPOINTING AUTHORITY /pita 2-3, AR 15-6)
The findings and reconvnendations of the Onveatlgating officer) (board) are (approv1d) (ai(■ 1J11u ut adj liWJOU&O WJUJ JWlOW.:.g c:.cc,J ·, HI
              . (If the oppo/nUng authority returns the proceedings to tho lnv0$/igaUng officer or board for further procoedings or
corrective action, attach that correspondence (or a summary, if oral) as a numbered lncfosure.J




                                                                                                       (b)(6), (b)(3)




                                                                                                 APR 2 2 2007
Pago4ol4pago~ DA Fam 1574, Mar1QB:J                                                                                                         APO PE v1,20




            USARCENT FOIA FA-22-0067 Batch 1                         UNCLASSIFIED                                                         156
Case 1:21-cv-01808-RDM                 Document 41-157              Filed 12/13/23           Page 7 of 20

                                               UNCLASSIFIED

                                  DEPARTMENT OF THE ARMY
                         HEADQUARTERS AND HEADQUARTERS TROOP
                               5TH SQUADRON, 73RD CAVALRY
                     3RD BRIGADE COMBAT TEAM, 82ND AIRBORNE DIVISION
                                FOB CALOWELL, APO AE 09324




 AFVC-CC-H                                                                        17 April 2007


 MEMORANDUM FOR RECORD

 SUBJECT: 15-6 Investigation into an IED detonation resulting in the death of CPT Grassbaugh,
 Jonathan; SPC Emolo, Ebe; SPC Hoover, Levi; and PFC McCandless, Rodney from 5-73rd
 Cavalry Squadron, 07APR07, 38S MC 7042 4576.


 1. On 07APR 2007, I was appointed as the AR 15-6 Investigating Officer (10) into an IED
 detonation resulting in the death of CPT Grassbaugh, Jonathan; SPC Emolo, Ebe; SPC Hoover,
 Levi; and PFC McCandless, Rodney from 5-73rd Cavalry Squadron occurring on
                                                                                                                    □
 071616APR07, south of Zaganiyah, Diyala Province, Iraq. I have conducted a thorQugh
 investigation of the circumstances surrounding this incident My observations, conclusions and
 recommendations are provided in the following format: facts, finding and recommendations.

 2. FACTS: On 07 April 2007 at 1244 a squadron combat logistical patrol consisting of 26
 personnel and nine vehicles left Forward Operating Base (FOB) Warhorse enroute to the A/5-73
 Company Outpost in Zaganiyah (exhibit 9). Their mission was to re-supply A/5-73 and return
 back to FOB Warhorse upon completion. At approximately 1600 as the convoy was moving
 south on Route Baney enroute back to FOB Warhorse an improvised explosive device (IED)
 detonated under the lead vehicle. The lead vehicle had five total passengers; th~ )
  (bl(3l, (b)(6l wa~ (b)(6), (bl(3l I PFC McCandless was the driver, SPC Hoover was the .50 cal
 gunner,          Emolo and CPT Grassbaugh were passengers in the rear.

 The command detonated IED was buried under the asphalt in the center of the road (exhibit 11).
 The vehicle was thrown forward into the air landin on its roof and immediately engulfed in fire
 upon impact (exhibit 11).              (b)(6), (b)(3)           immediately (1616hr) reported to
 the 5-73 Tactical Operation en r                    1s convoy  been hit by an IED (exhibit 1, 9).
 The remaining vehicles in the convoy then established an initial security perimeter around the
 lead vehicle, simultaneously others began evaluating and treating the casualties at the IED site
 (exhibit 1, 2, 4, 6, 8).

 CPT Grassbaugh and (bl(6), (b)(3l were the first two casualties identified; both were about 10-
•15 meters from the tru a e o'clock position in reference to the direction of travel (exhibit
 1, 2). CPT Grassbaugh and (bl(6l, (b)(3l were both on fire whe (b)(6), (b)(3) and! tblt3l, lb}(Sl I
 (medic) arrived, they immed1a y e ngu1shed the flames, move em to a secure position and
 b an to administer medical aid (exhibit 1, 2). CPT Grassbaugh was unconscious an~ i
  )(6), (bl( )Nas conscious at this point in the incident (exhibit 2, 3). (b)(6), (b)(3) identified PFC
          ndless still in the vehicle and made all attempts to remove           rom t e vehicle but was
 not able to because of the intensity of the fire (exhibit 2). (b)(6), (b)(3l and (b)(6), (b)(3l then
 began to search for the rest of the vehicle crew (exhibit 1, 2, and 8). They oca                 e vehicle




  USARCENT FOIA FA-22-0067 Batch 1               UNCLASSIFIED                                                 157
Case 1:21-cv-01808-RDM                Document 41-157             Filed 12/13/23         Page 8 of 20
                                             UNCLASSIFIED




turret approximately 15-20m from the vehicle and SPC Hoover, once they were able to get to
SPC Hoover had already passed away (exhibit 1, 2, 8).

 A/5-73 Quick Reaction Force {QRF) arrived at the JED location at approximately 1630,
 established security and control of the helicopter landing zone for the MEDEVAC aircraft. The
 ORF platoon sergeant sent the rest of his platoon to clear the site and found the end of the wire
 where the IED was detonated from {exhibit 5). They continued to follow the wire to a house that
 after clearing was determined to be abandoned (exhibit 5). At 1631, the air weapons team
 arrived on station and began to facilitate security of the area (exhibit 9). At 1632, the
 MEDEVAC aircraft arrived and CPT Grassbaugh,I fb}f6}, lbl<3} I and SPC Hoover were loaded
 and sent to level three medical care at Salad (exhibit 9, 10). At 1711, CPT Grassbaugh was
                              I
 pronounced dead on arrival, (bl(6), (b)(3) !went immediately into surgery. Several others in the
 convoy not pullin securi continued to search for SPC Emolo. Once the MEDEVAC aircraft
 had left the site, b 6, (b) 3 nd (bl(6l, (b)(3) ORF medic) found SPC Emolo's body about 40
 meters from the vehicle at the Oo ock position (exhibit 2, 3, 5, 6, 7, 8). At approximately
 174oj            I    the            b 3 b s          and the vehicle recovery assets arrived at the
 site to help recover the vehicle. (b)(6), (b)(3) and (b)(6), (b)(3l thq      (b)(3J, (b)(6)  I
(b)(3), (b)(6) were finally able to recover       cCan ess' body from the burning vehicle.
   1sassembly of the vehicle was required in order to get to his body {exhibit 1, 2, 4, 5, 6). Both
 SPC Emolo and PFC McCandless were brought back to FOB Warhorse by ground and handed
 over to mortuary affairs.

3. FINDINGS: After reviewing this incident and all evidence, 1found that the deaths of CPT
Grassbaugh, Jonathan; SPC Emolo, Ebe; SPC Hoover, Levi; and PFC McCandless, Rodney
were the result of a preplanned attack from Anti Iraqi Forces (AIF). This finding comes from the
analysis of the IED blast site and eye witness statements that account the event.

The EOD assessment of the blast site determined that the IED was 1-2 155mm rounds buried in
the center of the road under the asphalt (exhibit 10). A/5-73 had conducted mounted and
dismounted patrols daily on Route Barley for two weeks prior to this incident in order to kill or
capture the IED emplacers along this route. The IED was buried several months prior to 5-73
being in sector preventing this convoy from identifying any noticeable changes in the road giving
away its position. Preset IEDs allow the enemy to easily connect the detonator to the wire
attached to the rounds without being compromised by coalition forces.

I found that the MEDEVAC process followed all proper procedures and were responsive in
aiding to the casualties. The initial triage performed by the medics on site and the nine line
MEDEVAC call to time of evacuation totaled 16 minutes. This time was well within the
preplanned squadron medical plan. Both CPT Grassbaugh a~ (b)(6l, (b)(3l t,ad someone with
them throughout the entire process reassuring them that eve       ing was going to be okay,
(exhibit 3, 6, and 7).




                                                 2




 USARCENT FOIA FA-22-0067 Batch 1            UNCLASSIFIED                                           158
Case 1:21-cv-01808-RDM                  Document 41-157                 Filed 12/13/23   Page 9 of 20

                                                UNCLASSIFIED




 4. RECOMMENDATIONS: No further investigation needed, I found no fault of any friendly
 element's actions that led to the deaths of CPT Grassbaugh, Jonathan; SPC Emolo, Ebe; SPC
 Hoover, Levi; and PFC McCandless, Rodney.            •

 5. The POCforthis memorandum is the undersigned at[ (bH6l, (bl(3l tlilus.army.mil



                                                               (b)(6), (b)(3)



                                                       c;ommanamg



 7 Enclosures:

    1.                                  (bJ(3J              Sworn Statement
    2.                                   Sworn Statement
    3. t;::~[jj~jsworn Statement
    4. L..l!lll!!l.:l.'l!J:!L_..l.il~rn Statement
    5. b,=d,!=..:..~==,- Sworn Statement
    6. l,......J.!)!g).!.!1J!;1,1.,_.!--'>"f'Orn Statement
    7.                                       worn Statement
    8. L_-1!!Jl.!!J'-""""'-------'Sworn Statement
    9. DA Form 1594, Duty Staff Journal Log
    10. Significant Activity Story Board ppt.
    11. Pictures of IED sited, 7 APR 07




                                                      3




  USARCENT FO!A FA-22-0067 Batch 1                UNCLASSIFIED                                    159
  Case 1:21-cv-01808-RDM           Document 41-157     Filed 12/13/23   Page 10 of 20

                                       UNCLASSIFIED




                                          SGT Joshua Hanson




USARCENT FOIA FA-22-0067 Balch 1        UNCLASSIFIED                               160
                           Case 1:21-cv-01808-RDM                                                   Document 41-157                                      Filed 12/13/23                              Page 11 of 20

                                                                                                                      UNCLASSIFIED




                                              REPORT OF PROCEEDINGS BY INVESTIGATING OFFICER/BOARD OF OFFICERS
                                                                                F'or use ot !his form. soo AR 15--6; .the proponent agency Is OlJAG.
                                           IF MORE SPACE IS REQUIRED IN Fill/NG OUT ANY PORTION OF Tl/IS FORM, ATTACH ADDJTJON;JL SHf:b,S
                                                                                                       SECTION 1- APPOINTMENT

         AppQinted by        I           (b)(3), (b)(6)                 I  Commander 1134 BCT
                                                                                                                           (Appolnrtng aidhorlty)



        ()TI               i Aurr 06                        (Attach 1nclo,mre J: Letter ofuppamtment or summary of orul appoilltm<?m data.) (Soo para 3-15, .4.R 15-6.)
                                 (Dam)



                                                                                                           SECTION II - SESSIONS

        Th~ (inw.ttfgationj (ommi) wmmcn<Xd at                           LSA Adder                                                                                                                                  0800
                                                                                                                            (Place)                                                        "                        (rime)
        Oji .              2 .A~:f1l?6                      (lf fl/arm.ti board me( for ~ore than one _sesslo_n. /,;!~ck 1te_r~·                      ra .Indicate in an i11_dosure the               Hnfe each Jepsibn b~gan at1d
        ~nded, the plai:c, pcrJon.-r prewu mid ab4t.mt, amf e:rplanallc»t o; abse11c~s. Jj any.) fhe fol.lowmg persons {,Mmbers, respondi:t1fs, coun.ml) were.
        prc,sent: (..fjter ead: name, int/JC(J/1!. r;apac.ily, e.g., Pnuident. Record1~r. Member, Lcgai Adw:mr.)




        The: fo!lowing persons (m<!mhws. re,,;pondent.;, cowu,•/j were 110scni: (Include brief~planatio11 ofeach obseu.:~.) (See paro:s 5-1 and 5:.:Ba, .-!R 15-!J.}




        The (ill.csiit,:ling offii:t:r) (boarJJ finishtd gathcri.n.s/h1:aring c'Vld,mce at                                                       1500                                   on                        8 See 06
                                                                                                                                                 (Tinz,/                                                           (llari)
        and complete<! firitfo,gs and rcoommendations Af                                                              1700                                              nn                            13 See 06
                                                                                                                       (time)                                                                             (Date)

                                                                                          SECTION Ill • CHECKLIST· FOR PROCEEDINGS
        A. COMPLETE fN ,\LI, CASES
    I          lno:losures {pc:n:z 3-15, AR JS-6j
               Arc the following inclost:d and 11umbered ,.·:oru;ecuti\'tly with R11man numerals: (.•lttai:htd in order li;sted)


               c.
                  The lett<!r of arpoium:ent or a summary of oral appointmem d3ta'l
               "h. Copy of notice- n:s-ponilcnt. if :iny? (See item 9, bdow)
                                      10

                    Ol}Jer ~_r(:spondertee with teSpcn'dem or counsel, if uny?
               d AU other \.nitic1l i:ommunit.atior.s w or from the _appointing mnhority'J
                                                                                                                                                                                                                      III               I•
                                                                                                                                                                                                                                        I••
               e. Privacy Act_S1atemi,nt<; (Certificat.e, ifSta:emerit provided <Jtal!;~?
           f. E~plnnation by th!! i1wt-s:ligatl11g ot1icer or board oiany unusui\l delays, dlffitultit.S, irregularities., (!f olhcr probknt,;                                                                                            •
                    encountered (e.g .. absim-c-e of mafl!ria! witnesse.r_J?                                                                                                                                                 0 0        @
               g. Jnibnnation a,; 10 sc.<;sion.~ of :i form.al bonrd not indu1.fod on pnge l of this report?                                                                                                                      I )
               h. Any otht!r signitkanl papers {otift:r flum 1:wdencc:) relating tu administrative nsJ)l}CL'- ofthe invcstif!atic>Jl or board?                                                                                '
                                                                                                                                                                                                                             el .( 1
                                                                                                                                                                                                                                        "•'
                                                                                                                                                                                                                                          )
    FOOTNOTF..S-              lj fi.tp!am utl m:g,llfrlf 1msw,rr.~ m: Urt ana.duid .t!wn
                              :'.(, (!.r~ ef1.!i,: N·A colwn11 c;/JIJ.11//uf\~~ tt fl)J:iJJVr rtpn!si:nrawm thM lht< c1r..·1111111wn<c.r ilui:rih~,I III tfJ<! qur:.ition did no! o;.,:ur :n th~ ml'~11i>:a1irm
                              - urCrxml
    DA FORM.!S~rsM,<1,:IM!aA-22-0067 Batch 1                                                      EDITION OF~llHlleSOLETE.
)
                         Case 1:21-cv-01808-RDM                                                         Document 41-157                                            Filed 12/13/23                                   Page 12 of 20




2        E~hibil~ (para J.Jt;, AR I 5-6)
                                                                              •                                          UNCLASSIFIED

                                                                                                                                                                                  •                                              !YES NOi/ "NA2!
         a. Are ull items offt.:rc:d (whethi!r or noJ r.:i,:en,ed) or considen.-d as evidence· iudividunllY numbered m lettered ~
            exhibits. and attached to this repon?
                                                                                                                                                                                                                                  @     0          0
         b. ts nn index: o( all exhihii:s offered to or con.~idcrcd by invcstignting officer or board :macht':d before the first exhibir?                                                                                        !rel       l      £ l
       }fas the tcstimo11y/s1.itL111ent of each wimcss btcn recorded Vtrbutim or been reduced to written form and tmachcd as
         i;,
        :in exhibit'?
                                                                                                                                                                                                                                  @ 0 0
     -JA;e copies, descriptions, or dc11ictions fi(.mhstituledjor real or 'dm.•mnl!tJ/ary <!l'itkn,-c) properly 1mthentk-ated m1d is
                                                                                                                                                                                                                                  0 0 @
        the location of the original evidence ind1¢3tcd?
         ,.,_ Arc descriptions·or diagrnms inch.nkd {If !ocat1011s 1.isited hy the irwestig:uing officer or bonrd (pam 3-6b, AR J5-6J'J                                                                                           ,.,       l      f l

         f        Is cm:h written ~tipulation tittached l!$ nn c>.:.htbit and i~ each ornl stipulation dtlwr reduced to writing and made nn
                  exhibit or recorded in a wrhatitn rccMd'l                                                                                                                                                                       0 0              @
  g. If omcial nmicc of nny mnuer w::i.s 1aken over I.he objection of a rr.:spondcnt or counscJ, is n s1a1ement of the mntm
     of which official .nl)tite wa" taken atin~e_d a~ an.exhibit (para J-J6d, AR.IS-6)?                                                                                                                                           0 0              @
3 W2S a quorum pcl.!Scltl when th-: board voted on findings. nnd recommendations (paras ./-1 nnd 5-1b, AR IS--Q)?




                                                                                                                                                                                                                                 •
B. COMPI;ETE ONl.YFOR FORMAL BOARD PROCEEDINGS (Chapter 5. ;11115-6)
4        Al the initial ::ession. did the recorder read, or d1.-terminc that all participaul;; bad read, the leltcr af 11.ppointmcnt (p11ra :S-3b, AR 15-6)?
1        Was n quoruin present at C\.'cry si:ssion of the board (para 5-:?h, AR 1.5-6)?
ti       Wa.~ each ah.'h!nci: of any ml.':ulhcr properly cxcu.,,;cd (para 5-Ja, AR 15-6)?                                                                                                                                                                  .
7        Were mi:mlwrs. wi~ss~, repeint.7, and imerprc1cr .sworn, if require_d {z'Xlm 3-1, ,JR 15-6)?                                                                                                                                                  )

8        li any member.~ who 'i(lte<l nn findlitgs or re<:(m1mcnda1lons were not present when the board received some evidt:nce, does lhc irtclosure describe
   how they familiari;-.cd rhe1nsclvc,~ with thnt evidence (pum s.'ld, AR 15-6)'?                                                                                                                                                 0 0 0
C, COMPLETE ONLY ff RESPONDENT WAS DESIGNATED (Sectio1J 11. Chaprer S. AR /J.6)
9        Notiix. 1.0 respond::nts (para S-5, AR I S-6):
         a. Is the method and date. of ddivery 10 lhi! respondent lndic1t1cd on 1;nch letter of notification?
         b. Was the date of delivery at least -five working da}-s prior 10 the. first session of !he board?
         e. Does cnch ktter of illltifiC3lion ladicnte -
            (IJ the da~. hour. and place tlfthe first Session ,,fthe board concctning 1hnt responclem?
                  (2)    the mutter 10 be in\.'i!stig::!ted, including specific; nlh:g:nions ng:iin.~t lhi: re:ipi::md~nt. if any?                                                                                                      Q
                  {3}    U,c rc-sp.indcnl's rights wiU1 r<!g;ird to co1mscl'l
                  (4)    the- muni: nnd addr ...·s.s ofc-:it:h wiinl!ss ,:-xpccted to be call.crl by the record!!r?
                  (5)    the respon<l1$l' s. rights t.i be present, present L-V:idcncc.,. P.nct cull wimesse;'!
         d,       Wf!fj thi: r<:spond!;nt pr\'.'vidfd a copy of all unclassified dneumems in the case file?
             q.   ff iliere wm:· ri:kvrun clwilied msterials, were the respondent mid his ci1unsd given aeccs.,,; and an opportunity 10 1-'.:Xamine them?
 IO j lf 1111y rcspondl.':nt wa.~ designated ancr the p-roo:,=:ding5 begnu (or otltenYb'i! was absent during part of the proce.:ding.,r):
                                                                   ~a_5-•57._A_R_t_5_-6;./_'~~~~--~-~~~--~~~~-~~--~--------i_Q\.!•-+>,,i-+_,,.'-l
     i~".:.·-'-".:."c..'.:.h';_P:;.'_o,_P"_•,..:ty_o_o_ti_fi~ed~/l""c..
       b. Was record ufproce(:din_gi- aild evidence r~ivcd in hi.~ absence mnde :i.vailablc for examination by him and his counsd (pamJ-lc, AH IJ·6J?
 I I Cl!tnl.Scl (pwa 5-6. AR 15--6):
             a, Was eaeh respondent repr~.semed by counscl1
                  Name and business address of counsel:

                  (lfcu:m,1dualawy,:r, ched;here)( J)
             b, wa, re:-pondent's counsel pre:.~111 at all open s,:;:ssion.<1 ofthl: boo;d relating 10 that rcspondcm?
     i       c, If military coU!liel was reques1ed but not made nvailnble, is 3 C(lp)' (or, if r;ral, a summary) of the i"cquest and the                                                                                          Q Q Q
                a~tion uikert on 1t ittclu.:lcJ in the r~pl"lrt (para 5-6b. .4il JS~6)?
 12 1f the respondent chal!enged the legal-OO\•is,.1r or any voting mctnbc:r for laCk of i1ilpartialit)· (para 5-7. AR }j-/J):                                                                                                   - -
    a, Was the ~hclicnge properly denied and by the npproprinli.: cfikcr?                                                                                                                                                        ~
    h Did each membe:r sueixssfull}' chaUenied cease to partieipille in the pro\'.:Ccdings?                                                              -
 I3 Was the respondent gl1,-en -an opportunity 10 (p;ira 5,8a, AR i : , ~ - - - , ) ~ . , - - ' - ' - - - " - - - - - - - - - - - - - - - - - - - - - - -
             a. Be- pri:sent with his c1Junscl at all opi:n sessions Of the board wJ1ich deal with ~y m:1tter which concerns thtll_tcspondem?
             b, Examine and object l.l1 the introductfon.-0f real and documentary evidence-, including wrilteo stutements1                                                                                                        •      •"'\·
             c. Object 10 •the testimony ofwitnesst!; and cross-examine wit~-scs other than his own?                                                                                                                                    QI
             tl Call witnesses and otherwise inttoduce evidence'!                                                                                                                                                                 Q_
             <. Tesllfy "' n wiu,-,ss?                                                                                                                                                                                            Q :
         f        Mnke or huve hii; coUn$e) nuiJ.;~ a final st;;ta11e11t or argumcn1 (f'(ua 5-9, AR 1S-6)?                                                                                                                        r ,
 14 lf reqm.·s,ed, did the recorder assist 1.he respondent in obtaining evid'--i1ce in possession of the Goverrum.•nt and in                                                                                                      Q Q Q
    ar.ranging for the p1cscncc ofwiin~s~t:.'> (imm 5•8b, AR IS-6)'>
 15 Arc: !!It of the r~pondcnt's re.quests and objection~ which were denied indi.;ated in the report of proceedings or in an                                                                                                      Q Q Q
             inclosure ()r exhibit to it (paro 5-1 /, AR I 5-6)?
 f'OOTJ1/0TES:               1/ £:tp/om a1, ne,:(lm:e a"f!Sw~r:; nr. rm ,111t1cm~.I ffiei!l.
                            'i; U.w: ()jtl1" J,ir,t rofomn .:om1l111/t•,~ o p,t(/11"/t! r,·f',:'f'-•Wlltlflr,r. tfwl 1!;,1 .,1n:11rn.ll,r,1ca 1k10:-.rihNI m 1h.- z;tt;i'fllm1 iiid nor m:1:ilr ffi thf:i ir,1'('..crigatlfJfl
                             - "rhr4rd.
PllW! 2 of4 pages, DA Form 1514. Mar·83                                                                                                                                                                                                         .RCJI.SV1.0
           USARCENT FOIA FA-22-0067 Batch 1                                                                              UNCLASSIFIED                                                                                                   162
              Case 1:21-cv-01808-RDM                           Document 41-157                 Filed 12/13/23   Page 13 of 20



                                               •                        UNCLASSIFIED




                                                         SECTION IV· FINDINGS (p.ora 3-/0, AR !5-lii
                                                                                                       •
Th~ (investigating 01fici!.r) (board), having carefully cunsidcrcd the Cvidencc, finds:
See -attached memo.




                                                   SECTION V • RECOMMEN0ATIONS (P""' J.JI, di/ 15-6)
In view of the above findings, the (investigating offic11r) (board) recommend.,"!
See attllched memo.




                                                                            UNCLASSIFIED
               Case 1:21-cv-01808-RDM                                  Document 41-157                         Filed 12/13/23                   Page 14 of 20


                                                   •                              UNCLASSIFIED

                                                                                                                       •
                                                              SECTION VI· AUTHENTICATION (pwa 3-/'?. ,-JR !5-6j
 THIS REPORT CF PROCEEDINGS IS COMPLETE Ai\l) A.CCUR4.TE. (~t'any \'olini:-mcmber rw the r,:•~·orda f:ith. w :,ign here 01• in Si-r:rio11 rt/
 hf.·hm·, f,;di,..:atf :he rM.<?on m !h11 ,\j'liil'e wht·n! his sigriatur.? shmdJ appc,ir J




                                                                                                                                      (b)(3), (b)(6)




                                                            SECTION Vil - MINORITY REPORT (para J.IJ. AN 15-M
To th,: extent indicm~J io lnclosurc                          , thi: undersigned dl,(~~) not concur in the findings ar.d rci..'.~}1rm1c-nd1:1i~mz. of tb~· board.
I ht (hi' ir:c/o.rnr,:, ;d,.·11t[b· hy numb1~, c·aeh jimiing u1_:t.f!ar iecommendatic)// in which rhe di.l'.~£1mi11g flll!mbcd~) do(f'li nor c;>nc:1r State 1he
ret.u·ons j:.Jr d1sag,·c-ement Add!lwnal,.suhsli!ule )indings and·tir re,~01,1mq;ui;11iom· may lie' inciud1!d i11 the it!clrm1rc ,.




                                                SECTION VIII - ACTJON SY APPOJNTING AUTHORITY (par,1 2-1. AR 15•6.J
fhc f1ndl11g:-; :)JlJ r.:..:om;-r:<.'.n;,l!.ltion~ of the: fim•es1fg,1fi11g ,~/Jker1 ~ arc (approwdj ;"1'h,.nh c. cd; (e,).f . · c.i :,t,J :Je'.\w:ng I'.'.(.,._,_ ,:mw'
.SJ.~SJ. • (~( th~· .;ppoi1!/iJ1;;, ,mrlwri!J rt1!urn.f (he pruce,•di1Jgs W the :nw:sr(r,:,uinJ? (Jficc•r or boord ((/r Ji1rrlwr pn1ce1.·dings or
.:9rre,._·1i-..•t: ae1i1m. a:,·ach iha: corr.:spor1J,,11r:i: (vr u swmrwry, ~(LJtc!{) as a nwnhaed inclosur,•._)


    ~ w/ +~ ~ ·v f-L. x/o. j0/5 ---~ JJ-1,..,_,j_ ~-~                                                                                                    1

    ~ $ ~ +k ~ - ~ ) d tk ~ I\,_ ~ " t k
    n... J " ' " ~ ~ k,,_,__<.'"'-~ v...                                                  +-~.             :J+-----li ~ ~w
   ~ ~ _ , ] /.,~ [1-LJ..M,~ ~ ;,;~                                                                                  ·t:,

    l ~ 1-[i~ ~~-~



                                                                                                                    (b)(3), (b)(6)



                                                                                        L---------,---------'-····-·--
                                                                                                                1q_ j'f_ p ¢l,


            USARCENT FOIA FA-22-0067 Batch 1 •                                    UNCLASSIFIED                                                                             164
Case 1:21-cv-01808-RDM               Document 41-157          Filed 12/13/23       Page 15 of 20



                       •                  UNCLASSIFIED



                                   DEPARTMENT OF THE AR!VfY
            HEADQUf\.RTERS 1ST BRIGADE COMBAT TEAM, 34TH DIVISION
                                                                   •
                ALI AIR BASE, LOGISTICAL SUPPORT ARE/\ ADDER
                          ARMY POST OFFICE AE 09331



     I/34BCT-CO                                                             7 September 2006


                                                                      1
    MEMORANDUM FORic___
                      (b_l(J_l,_(b_l(_si_~b1mrnander, l/34 h Brigade Combat Team

    SUBJECT: AR 15-6 Investigation of Facts and Circumstances Leading to the Death or
    Sergeant Joshua Hanson.


    I. Purpose: This memorandum contains facts, findings, and recommendations for the
    above mentioned investigation in accordance with AR 15-6, Procedures for Investigating
    Officers and Board,; of Officers.

    2. Background: The following are the facts of the above mentioned investigation in
    accordance with the AR 15-6, Procedures for Investigating Officers and Board of
    Officers.

        a. The Brigade Mission is to conduct Theater Security and Security Force operations
    to secure theater support convoys and logistical nodes in the .Iraq Theater of Operations in
    order to allow 3 Corps Support Command to provide continuous, synchronized and
    responsive Combat Service Support to Multi National Corps - Iraq units.

       b. Hte mission of2-l 36 Combine'<:! Arms Battalion (CAB) is to conduct combat
    patrolling, Entry Control Point operations and Observation Post operations i.n order to
    maimain freedom of maneuver in AO Bearcat and secure Can1p Taqaadam from Anti
    Iraqi forces to ensure uninterrupted logistics operations of the I" Marine Logistics
    Group.

       c. On 28 August 2006, the Conunander of the l ' 1 Marine Logistics Group ordered 2-
    136 CAB to support 3rd Battalion, 2nd Marine Expeditionary Force. On 29 August 2006.
    2nd Platoon of Able Company, 2-136 CAB conducted operations in support of 31d
    Battalion. 2 nd Marine Expeditionary Force. The Platoon of which SGT Jo,;lrna Hanson
    \vas a member, was to provide over watch of two critical road intersections in support of
    an operation conducted by Kilo Company, 3'd Battalion, 2nd Marines.


    3. Findings of the lnvestigation: From 29 to 30 August 2006, 2nd Platoon, Able
    Company was supporting an operation by Kilo Company 3/2 Marines. The element
    consiskd of (26) Personnel, (4) M2 Bradley Fighting Vehicles, (1) MI 114 HMMWV,
    and (l) Ml I 5 l HivIMWV. During the course of the operation Bravo Section of!he
    Platoon led byl     (bJ(3), (b)(BlIconsisting of ( 13 Jpersonnel (2) M2 Bradley Fighting
    Vehicles and (I) 115 I HlVfl'v!WV was providing over watch of the intersection of route




                                             UNCLASSIFIED                                          165
USARCENT FOIA FA-22-0067 Batch 1
  Case 1:21-cv-01808-RDM                 Document 41-157                       Filed 12/13/23   Page 16 of 20


                          •                           UNCLASSIFIED




       Twins a11d Dodgers at grid LB 5565 9785. A Section led b~       (b)(3), (b)(6)
                                                                                         •
                                                                                      lwas
       providing over watch of route l'vlichigan al grid LB 5590 9970. Alpha Section consisted
       of (13) Personnel, (2) M2 Bradley Fighting Vehicles and (I) Ml I 14 HMMWV.

       As B Section was moving· from their over watch position to the Kilo Company command
       post along route Twins, the M 1151 HMM WV in which SGT Joshua Hanson was
       traveling, struck an !ED identified as double stacked anti tank mines. The explosion and
       ensuing fire resulted in the death of SGT Hanson.


          a. Personnel and Vehicles Involved in Incident:

                             M? 13rad!..,,." Eiabtino Vabi:::Ja              ICC re, f


                                                     (b)(3), (b)(6)




                                     (b)(3), (b)(6)




              Vehicle A204. MIII4 HMMWV. Cha                                     <: ,.   111



                                     (b)(3), (b)(6)




             Vehicle A24. M2 Ilradlcv Fiuh i


                                                            (b)(3), (b)(6)




                                    (b)(3), (b)(6)



            Vehicle A208, Mlll41-IM:-vrwv, Chameleon EC                         . ,, ·n


                                     (b)(3), (b)(6)


                               anson ~ Passenger


                                                           2
USARCENT FOIA FA-22-0067 Batch 1                      UNCLASSIFIED                                         166
Case 1:21-cv-01808-RDM                  Document 41-157               Filed 12/13/23           Page 17 of 20



                         •                      UNCLASSIFIED

                                                                            •
        b. Role of Sergeant Hanson on tJ1e mission: Sergeant Hanson was part of the
     dismounted Infantry squad whose job was to provide local security and over watch of the
     Bradley Fighting vehicles and road intersection.

        c. Time Sequence of Events:

             29 August 2006

             0900 Able Company leadership move from Camp Taqqadum to Habbiniyah to
             receive mission brief from Kilo Company 3'd Battalion 2 nd Marine Expeditionary
             Force.
             1200 Able Company returns 10 Camp Taqqadum and conducts pre execution
             checks and troop leading procedures
             1430 Able Company elements leave Camp Taqqadum for Voodoo Command Post
             (Cl') where Kilo Company has established their forward Command Post at grid
             38S LB 5527 9765.
             1500 - Able Company m-rives at Voodoo CP and .links up with Kilo Company for
             final instructions.
             1630 - Able Company elements move to their over watch positions
             I640 - Able Conipany elements commence over watch mission
             2000 - Bravo Section of Able Company moves back to Voodoo CP to initiate rest
             cycle as operation is planned to last 48 hours.
             2030 - Bravo Section returns to over watch position and resumes over watch
             mission

             30 August

             0600 - Kilo Company elements come to relieve Bravo Section in place
             0650 - Bravo Section moves back to Voodoo CP along canal road
             0720 - Bravo Section links up with Kilo Company Engineer element and receives
             mission to clear canal road from Route Twins to Route Dodgers.
             0920 - Bravo Section clears route and arrives at Route Dodgers
             1200 - Bravo Section receives instructions to travel back along canal road to
             Voodoo CP. Order of march is A66, A208, A24.
             1205 - A208 is struck by !ED and is immediately engulfed in flames. All vehicle
             personnel exce t for SGT Hanso

              _ u -          , c ion a tempts to rec         anson as vehicle is (b)(6) ~)(3), (b)(~)
              (b)(S) !calls for QRF and medical evacuation.
             1208 - Ammunition in vehicle A208 is exploding and attempts to free SGT
             Hanson are stopped. Section moves to cover in irrigation ditch.
             1217 - Bravo Section does accountability check and inspections for wounds.
             SGT Hanson is still inside vehicle A208. Kilo Company is in over watch
             positions, and secures incident site. Bravo section 11;rnti:eci:C!lSw.JJl.l!ll.UWID:....allJl._-,
             Medical Evacuation team from •• o Com anv CP.                      (b)(3), (b)(S)
                          (b)(3), (b)(6)               (b)(3), (b)(S) ate evacuated for burns and
             smo ·e mna a 1011. . p ,a Secnon stays rn over watch position.




                                                   UNCLASSIFIED                                                  167
USARCENT FOIA FA-22-0067 Balch 1
Case 1:21-cv-01808-RDM                                Document 41-157                          Filed 12/13/23                    Page 18 of 20



                                •                              UNCLASSIFIED




                124 7 --Evacuated soldiers arrive back at Camp Taqqadtm1
                1330 Bravo Section (-) returns to Camp Taqqadum
                                                                                                     •
                1800 Personnel recover tc-am arrives on incident site
                1900 SGT Hanson recovered
               2030 Recovery Team Departs for Camp Taqqadum with SGT Hanson and
                Vehicle
               2100 Recovery Team anives at Camp Taqqadum

               31 August

               1400 Alpha Section leaves over watch position and returns to Camp Taqqadum
               1430 Alpha Section returns to Camp Taqqadum


        d. Medical aid given to SGT Joshua Hanson - SGT Hanson was)                                                         (b)(B)
            (b)(B)          I No medical aid was able to be administered.                                      '-----'--'-'---'---~

        e. Cause of Death: Sergeant Hanson was riding in the rear passenger seat behind the
    vehicle commander when the JED ex laded under the                                                                                        n
    rendered SGT Hanson              (b)(6)
    vehicle.. Despite mu! th,pileeT-1ii>ei'int,1(i;c,aii"ttti'furm1'S"Tr<,'TllF.•71i'ieeinm1ine',.i:;~liissciITT:1;:r;:lOnffrr,e;-;e~Sc;iGm,T
    Hanson from the vehicle, the efforts were unsucces '                                                                 ,.           • Sergeant
    Joshua R. Hanson as determined b,                                               (b)(3), (b)(6)                                     s
    cat,"lStrophic burns.

         f. Protective Equipment: Sergeant Hanson was wearing Jndividual Body Armor, with
    neck protector. side protectors, !DA.PS, enhanced small arms protective plates in the front
    and rear. groin protector, ballistic helmet, and protective eyewear. He was also wearing
    his seat belt.

         g. There is no evidence that any violations of Anny Regulation or Unit Slandard
    Operating Procedures were committed. There was a thorough tnission brief prior to
    execution and pre combat inspections were made. The element had an experienced
    mission commander and non commissioned officer in charge of the mission. ·n1e
    leadership had been in lratj approximately 5 months and had completed over I00 com hat
    missions prior tu this operation.

    The vehicle was equipped with a fire extinguisher that was inspecte<l as part of the
    Preventative Maintenance Checks and Services (PMCS) inspections prior to the mission.
    The tire extinguisher was unable to be utilized as the vehicle fire prevented it from being
    removed from the vehicle and utilized.

       h. Alter the explosion of the !ED, the element responded in a quick and efficient
    manner to secure 1he location, attempt to C),,"1ract SGT Hanson. and initiate medivac
    procedures. The quick reaction force and tl1e medical evacuation crew responded in a
    timely manner.




                                                                         4
                                                                                                                                                   168
USARCENT FOIA FA-22-0067 Balch 1                                     UNCLASSIFIED
 Case 1:21-cv-01808-RDM                    Document 41-157            Filed 12/13/23       Page 19 of 20


                                •                  UNCLASSIFIED

                                                                               •
            i. Support from the supported unit (K, 3/2 Marines) was timeiy and efficient in
         organizing aid and recovery elements. Explosive Ordinance Disposal and the Quick
         Reaction Force responded to the scene in a timely mall!ler to render aid.

           j. The aforementioned actions demonstrate that there are el'foctive policies and
        procedures in place. ·111ese procedures ,~ere well executed and every possible action was
        taken 10 save the life of Sergeant Hanson.

       4. Rccon1mendations: I recommend the following actions be taken:

             a. No negative action be taken against any service member involved in the incident.

             b. I recommend no further investigation be conducted on this mauer.
       ,:;               , •of comact for this memorandum is the undersigned at email of
        (b)(3), (b)(6)     a)ira, .centcom.mil                    •


      FOR THE COMMANDER



                                                                      (b)(3), (b)(6)




     EXHIBITS:
     Exhibit A (2-136 CAB Patrol Request) ~ - - - - ,
    •Exhibit B (Letter drafted but nor sent byJ (b)(3), (b)(B) Ito family of SGT Hanson)
     Exhibit C (EOD Incident Repon)
     Exhibit D (Casualty Report)
     Exhibit E (Daily Staff Journal from 2-136 CAB located at Camp Taqqadum )
     Exhibit F (Tasking from Marine Logistics Group to 2-136 to support 312 MARJ
     Exhibit G (02 Slide on Anti Tank Mine attacks)
     Exhibit H (Operation Rubicon Operational Overview)
     Exhibit I (CCIR Report on attack killing SGT Hanson)
    Exhibit J (Statement from
    Exhibit K (Statement fron
    Exhibit L (Statement fron
    Exhibit M (Statement fro,
    Exhibit N (Statement fron
    Exhibit O (Stateme!ll fron          (b)( ), (b)(6)
                                            3
    Exhibit P (Statement from
    Exhibit Q (Statement frorr
    Exhibit R (Statement from
    Exhibit S (Statement from
    Exhibit T (Statement from



                                                      5
USARCENT FOIA FA-22-0067 Batch 1                   UNCLASSIFIED                                        169
  Case 1:21-cv-01808-RDM               Document 41-157             Filed 12/13/23      Page 20 of 20


                           •
       Exhibit U (Statement from
       Exhibit V (Statement from
                                                  UNCLASSIFIED




                                         (b)( 3l, (b)(S)
                                                              0)
                                                              )
                                                                       •
       Exhibit W (Appointment Order 0/1       (b)(3), (b)(6) las I 5-6 Investigatinn Officer)
       Exhibit X (Investigating Officers Notes on Interview v~ith
       Exhibit Y (lnvestignting Officers Notes on Interview with         (b)(3), (b)(6)
       Exhibit Z (Investigating Officers Notes on Interview with
                                                                    '-------~
       Exhibit AA (Casualty Report fo
       Exl1ibit BB (Casualty Report fo
       ExJ1ibit CC (Casually Report fo
       Exhibit DD (Casualty Repo11 fo            (b)(3), (b)(6)
       Exhibit EE (Casualty Report for
       Exhibit FF (Casualty Report for




                                                       6
USARCENT FOIA FA-22-0067 Batch 1 .                UNCLASSIFIED                                    170
